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JUDGE PURBAAN 21 MISC6 4 0

UNITED STATES DISTRICT COURT

 

 

 

FOR THE SOUTHERN DISTRICT OF NEW YORK a
IN RE APPLICATION OF ALBERTO oS
SAFRA FOR AN ORDER TO TAKE Case No. 21-MC ma
DISCOVERY FOR USE IN FOREIGN an
PROCEEDINGS PURSUANT TO 28 we OS
U.S.C. § 1782 ed i

 

APPLICATION AND PETITION FOR AN ORDER TO CONDUCT DISCOVERY FOR
USE IN FOREIGN PROCEEDINGS PURSUANT TO 28 U.S.C. § 1782

Petitioner Alberto Safra, pursuant to 28 U.S.C. § 1782 and Federal Rules of Civil Procedure
26, 30, 34, and 45, respectfully applies to this Court for an order in the form attached as Exhibit 1
to the Declaration of Lucas Bento dated August 5, 2021 (the “Bento Declaration”) authorizing
Petitioner to conduct discovery for use in foreign proceedings in the form of the subpoenas
attached as Exhibit 2 to the Bento Declaration. In support of his application and petition, Petitioner
submits a Memorandum of Law and attaches the Declaration of Alberto Safra dated July 26, 2021,

Declaration of David Wallace Wilson dated July 26, 2021, and the Bento Declaration.

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Dated: August 5, 2021 | Respectfully submitted,
Nira S TALE
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Michael Carlinsky

John H. Chun

Lucas V.M. Bento

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